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 6   the San Diego Electrical Pension Trust, et al.

 7

 8                                    UNITED STATES DISTRICT COURT
 9                                 SOUTHERN DISTRICT OF CALIFORNIA
10

11   BOARD OF TRUSTEES OF THE SAN DIEGO                              Case No.               '19CV0474 W                       BLM
     ELECTRICAL PENSION TRUST;
12                                                                   COMPLAINT
     BOARD OF TRUSTEES OF THE SAN DIEGO
13   ELECTRICAL HEALTH & WELFARE TRUST;
14   ANDY BERG and ANDREW MCKERCHER,
     Trustees,
15
                    Plaintiffs,
16
            v.
17
     SULLIVAN SOLAR POWER OF CALIFORNIA,
18   INC. a California corporation,
19                  Defendant.
20

21                                                        Parties
22          1.      The San Diego Electrical Pension Trust (“Pension Fund”) and the San Diego Electrical
23   Health & Wealth Trust (“Health Fund”) are employee benefit plans as defined in the Employee
24   Retirement Income Security Act of 1974 (“ERISA”) § 3(3), 29 U.S.C. § 1002(3), and are multi-
25   employer plans as defined by ERISA §3(37)(A) (29 U.S.C. §1002(37)(A)). Andy Berg and Andrew
26   McKercher are Trustees of the Trust Funds with authority to act on behalf of all Trustees. Plaintiffs
27   Board of Trustees of the San Diego Electrical Pension Trust and Board of Trustees of the San Diego
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 1   Electrical Health & Wealth Trust are authorized to bring suit and collect monies for all Plaintiffs,

 2   including all other funds to which Defendant is obligated to contribute under the Bargaining Agreements

 3   described below. These Funds and their fiduciaries are together referred to herein as “ERISA Plaintiffs”

 4   or “Plaintiffs.”

 5           2.         The Pension Fund and the Health Fund are authorized by the respective Boards of

 6   Trustees of the San Diego Electrical Training Trust (Joint Apprenticeship and Training Fund), San

 7   Diego Electrical Annuity Plan, National Electrical Benefit Fund, National Electrical Industry Fund,

 8   Education and Manpower Development Trust, and the Labor-Management Cooperative Fund (each a

 9   ‘Trust Fund” and collectively the “Trust Funds” or the “Bargainined Plans”), to receive and collect

10   contributions on behalf of these Trust Funds. Additionally, the Pension Fund, and the Health Fund are

11   authorized by the International Brotherhood of Electrical Workers Local 569,(“IBEW 569” or the

12   “Union”) to receive and collect union dues on behalf of IBEW 569.

13           3.         The Pension Fund, the Health Fund, the San Diego Electrical Training Trust, the San

14   Diego Electrical Annuity Plan, and the National Electrical Benefit Fund are jointly administered labor-

15   management trust funds which were created and maintained pursuant to LMRA § 302(c)(5) (29 U.S.C. §

16   186(c)(5)). These Trust Funds are multi-employer plans within the meaning of ERISA §§ 3(37)(A) and

17   515 (29 U.S.C. §§ 1002(37)(A) and 1145). These Trust Funds are, and at all times relevant herein were,

18   duly organized and operating in this state, administered in San Diego County.

19           4.         The Education and Manpower Development Trust, the Labor-Management Cooperative

20   Fund, and the International Brotherhood of Electrical Workers Local 569, are entities created by the

21   International Brotherhood of Electrical Workers and/or the National Electrical Contractors' Association

22   for the benefit of their members and are and at all times relevant herein were, duly organized and

23   operating in San Diego County, in the State of California.

24           5.         Sullivan Solar Power of California, Inc., a California Corporation, is an employer by

25   virtue of ERISA § 3(5), 29 U.S.C. § 1002(5), and NLRA § 2(2), 29 U.S.C. § 152(2).

26                                                   Jurisdiction

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 1           6.      Jurisdiction exists in this Court over the claims asserted by ERISA Plaintiffs by virtue of

 2   ERISA § 502, 29 U.S.C. § 1132, in that ERISA Plaintiffs seek to enforce the provisions of ERISA and

 3   the terms of their plans, seek to enjoin the acts and practices which violate ERISA, seek equitable relief

 4   to redress such violations, and seek all other appropriate relief under ERISA.

 5           7.      Jurisdiction exists in this Court over all the claims by virtue of the Labor Management

 6   Relations Act (“LMRA”) § 301, 29 U.S.C. § 185, in that Plaintiffs seek to enforce the terms and

 7   conditions of a valid Bargaining Agreement.

 8           8.      To the extent jurisdiction over any claim does not exist under ERISA or the LMRA,

 9   supplemental jurisdiction exists in this Court over such claims by virtue of 29 U.S.C. § 1367 in that they

10   arise out of a common nucleus of operative facts that form the basis of the federal claims asserted

11   herein, each of which has a substantial ground in federal jurisdiction.

12                                                           Venue

13           9.      Venue is conferred upon this Court by § 502, 29 U.S.C. § 1132. Where an action is

14   brought under ERISA § 502 in a district court of the United States, it may be brought at Plaintiffs’

15   discretion, in the district where the plan is administered, where the breach took place, or where a

16   defendant resides or may be found. ERISA Plaintiffs’ Trust Funds are administered in this district at

17   their principal place of business in San Diego, California. Thus, jurisdiction and venue are properly

18   grounded with this Court.
19           10.     Venue exists in this Court with respect to the claims under LMRA § 301, 29 U.S.C. §

20   185, as this Court has jurisdiction over the parties, as the Union maintains its principal place of business

21   in this district, its duly authorized officers or agents are engaged in representing employee members in

22   this district, and the claims arise in this district.

23                                                 Bargaining Agreement

24           11.     Defendant entered into agreements entitled Letter(s) of Assent, and by these Letter(s) of

25   Assent, agreed to be bound by (1) the Inside Agreement (inside wireman’s agreement) between the San

26   Diego Chapter, NECA and Local Union 569, IBEW; (2) the Local 569 Sound Agreement between the

27   San Diego Chapter, NECA and Local Union 569, IBEW; (3) the Streetlighting Labor Agreement
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 1   between the San Diego Chapter, NECA and Local Union 569, IBEW; and (4) the Superintendent

 2   Agreement between the San Diego Chapter, NECA and Local Union 569, IBEW (collectively, the

 3   “Bargaining Agreements”). These agreements require employer contributions to Plaintiffs’ ERISA

 4   Funds, to the Union for union dues, and to the other plans more fully described in the Bargaining

 5   Agreements. Plaintiffs are third party beneficiaries of the Bargaining Agreements.

 6           12.    Under the Bargaining Agreement and the governing documents of ERISA Plaintiffs (the

 7   “Trust Agreements”), which are incorporated into the Bargaining Agreement and made binding on

 8   Defendant, Defendant is required to regularly pay to ERISA Plaintiffs, the Bargained Plans, and the

 9   Union, certain sums of money, the amounts of which are determined by the hours worked by

10   Defendant’s employees. Contributions are due on the fifteenth (15th) day of the month following the

11   month the hours were worked, and are considered delinquent if not received by that day. Defendant is

12   also required, pursuant to the Bargaining and Trust Agreements, and ERISA to pay liquidated damages

13   for each delinquent contribution. Moreover, the Bargaining and Trust Agreements, and ERISA provide

14   that interest accrues on delinquent contributions from the day contributions become delinquent, until

15   paid.

16           13.    The Bargaining Agreement further requires Defendant to submit any and all relevant

17   records to Plaintiffs for examination to determine whether Defendant is making full and prompt payment

18   of all sums required to be paid by it to Plaintiffs. Should an audit of Defendant’ records reveal
19   Defendant has failed to provide full and prompt payment of all sums due, Defendant must reimburse

20   Plaintiffs for the amounts due, including audit fees, in addition to any other obligations pursuant to the

21   Bargaining and Trust Agreements.

22                                              Factual Allegations

23           14.    Defendant has failed and refused to pay contributions for hours worked by its employees

24   during the monthd of November 2018, Decmeber 2018 and January 2019. In addition, liquidated

25   damages and interest have been incurred and are owed to Plaintiffs on prior late-paid contributions for

26   the months of May, June, July, August, September and October 2018.

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 1             15.    Plaintiffs are entitled to recover any and all other contributions, and all liquidated

 2   damages and interest on delinquent contributions not specified above, found due on timecards, audit, or

 3   otherwise, including estimated contributions for any months Defendant fails to report to Plaintiffs,

 4   through the time of Judgment. Plaintiffs reserve the right to conduct a further audit to determine whether

 5   there are any additional amounts due from Defendant.

 6                                          FIRST CAUSE OF ACTION

 7                   For Payment of Delinquent Contributions, Interest, Liquidated Damages,
                                 Attorneys’ Fees and Costs Against Defendant
 8
               16.    Plaintiffs re-allege and incorporate by reference paragraphs 1 through 15, above.
 9
               17.    Defendant has a contractual duty to timely pay the required contributions to Plaintiffs and
10
     the Bargained Plans, and to timely pay dues to the Union, pursuant to the Bargaining Agreement and
11
     Trust Agreements. Defendant also has a contractual duty under the Bargaining Agreement, and Trust
12
     Agreements incorporated therein, to permit an audit of their records to determine whether they are
13
     making full and prompt payment of all sums required to be paid to Plaintiffs, and to pay Plaintiffs all
14
     amounts found due as a result of an audit, including audit fees.
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               18.    In addition, Defendant has a statutory duty to timely make the required payments to
16
     Plaintiffs under ERISA § 515, 29 U.S.C. § 1145, and LMRA § 301(a)
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               19.    By failing to make the required payments to Plaintiffs, Defendant breached the
18
     Bargaining Agreement and are in violation of ERISA § 515, 29 U.S.C. § 1145, and LMRA § 301(a).
19
               20.    Defendant’s failure to pay the required contributions was at all times, and still is, willful.
20
     Defendant continues to breach the Bargaining Agreement, and incorporated Trust Agreements, by
21
     failing to pay all amounts owed as alleged. Said refusal is unjustified and done with knowledge and
22
     intent.
23
               21.    ERISA Plaintiffs are without an adequate remedy at law and will suffer continuing and
24
     irreparable injury, loss and damage unless Defendant are ordered specifically to perform all obligations
25
     required on Defendant’s part to be performed under ERISA, 29 U.S.C. §§ 1101-1381, the LMRA, 29
26
     U.S.C. §§ 141-197, and the Bargaining and Trust Agreements, and is restrained from continuing to
27
     refuse to perform as required thereunder.
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 1           22.   This Complaint does not in any manner relate to statutory withdrawal liability that may or

 2   may not be assessed against Defendant. ERISA Plaintiffs expressly reserve the right to pursue any such

 3   withdrawal liability claims against Defendant as provided by ERISA Plaintiffs’ Plan Documents, Trust

 4   Agreements, and the law.

 5           //

 6                                                      Prayer

 7   WHEREFORE, Plaintiffs pray as follows:

 8           1.    For a judgment against Defendant as follows:

 9                 a. Any unpaid contributions, due at time of Judgment, including those specified above

10                     as well as any other contributions determined as due by audit, timecards, or

11                     otherwise, including estimated contributions for any months Defendant fails to report

12                     to Plaintiffs, pursuant to ERISA § 502(g)(2)(A), 29 U.S.C. § 1132(g)(2)(A);

13                       i.        To ERISA Plaintiffs and the Bargained Plans, in accordance with ERISA

14                                 § 502(g)(2)(A), 29 U.S.C. § 1132(g)(2)(A) and the Bargaining Agreement;

15                        ii.      To the Union in accordance with the Bargaining Agreement.

16                 b. Liquidated damages on all late-paid and unpaid contributions in an amount provided

17                     for under the Bargaining and Trust Agreements, and with respect to ERISA Plaintiffs,

18                     ERISA § 502(g)(2)(c), 29 U.S.C. § 1132(g)(2)(c).

19                 c. Interest on all late-paid and unpaid contributions at the rates set in accordance with

20                     the Bargaining Agreement, the Trust Agreements, and ERISA § 502(g)(2)(B), 29

21                     U.S.C. § 1132 (g)(2)(B).

22           2.    Plaintiffs’ reasonable attorneys’ fees and costs of this action, including any audit fees, in

23   accordance with ERISA § 502(g)(2)(D) and (E), 29 U.S.C. § 1132(g)(2)(D) and (E); and in accordance

24   with the Bargaining Agreement for all Bargained Plans; and with LMRA § 301, 29 U.S.C. § 185, for all

25   Plaintiffs.

26           3.    For an order,

27                 a. requiring that Defendant comply with its obligations to Plaintiffs under the terms of
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 1                  the Bargaining Agreement and the Trust Agreements;

 2               b. enjoining Defendant from violating the terms of those documents and of ERISA; and;

 3               c. enjoining Defendant from disposing of any assets until said terms have been complied

 4                  with, and from continuation or operating of Defendant’s business until said terms

 5                  have been complied with.

 6         4.    That the Court retain jurisdiction of this case pending compliance with its orders.

 7         5.    For such other and further relief as the Court may deem just and proper.

 8   DATED: March 12, 2019                              SALTZMAN & JOHNSON LAW CORPORATION

 9
                                               By:       /S/Tino X. Do
10                                                      Tino X. Do
                                                        Attorneys for Plaintiffs Boards of Trustees of
11                                                      the San Diego Electrical Pension Trust, et al.
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